Exhibit A
                                                                             View this content online




Housing, treatment help for
clients affected by service disruptions

For those experiencing housing crisis
Ramsey County Housing Supports Services Resources
  x   Online: https://www.ramseycounty.us/residents/assistance-support/assistance/housing-
      services-support
  x   Call the emergency shelter and services at: 651-266-1050.


Hennepin County Housing Support Services Resources
  x   People at imminent risk for homelessness upon losing their current housing:
         o All Populations. Family Homelessness Prevention Assistance Programs: visit Hennepin
            Emergency Programs website (https://www.hennepin.us/residents/human-
            services/emergency-assistance#homeless-prevention-resources) and select a provider
            serving Hennepin County.
         o Youth (up to age 24). Youth Services Network: visit Youth Services Network (ysnmn.org)
  x   People at risk for eviction seeking assistance to stay in their current housing:
         o Hennepin County Tenant Resource Connections: leave a voice mail at 612-767-9737, e-
            mail housing.assistance.triage@hennepin.us, or visit Tenant Resource Connections
            (trchennepin.com).
  x   People seeking general information about and referrals to Hennepin County Resources:
         o Hennepin County Information Line: call 612-348-3000 to connect with resources.


St. Louis County Housing Supports Services Resources
  x   Online: St. Louis County Housing Resources (https://www.stlouiscountymn.gov/departments-a-
      z/public-health-human-services/housing-and-homelessness-programs)
  x   The St. Louis County triage social worker serves as a point of contact for difficult or extra
      challenging situations. Contact them at 218-471-7391.
Olmsted County Housing Supports Services Resources
  x   Online: Olmsted County Housing Resources
      (https://www.olmstedcounty.gov/residents/services-individuals-families/housing)
  x   Those experiencing homelessness and are in need of assistance in Olmsted County are
      encouraged to contact 507-328-7175 or housingstability@olmstedcounty.gov.


Blue Earth County Housing Supports Services Resources
  x   Online: Blue Earth County Homelessness Prevention Resources
      (https://www.blueearthcountymn.gov/1462/Homelessness-Prevention)
  x   Single adults over 24 can access the Coordinated Entry System by calling 507-344-9266
      (Salvation Army) or 507-345-6822 (MVAC). Unaccompanied youth 24 and under can access the
      Coordinated Entry System by calling 507-381-6670 (The REACH).


Stearns County Housing Supports Services Resources
  x   Online: Stearns County Housing Options (https://www.stearnscountymn.gov/738/Housing-
      Options)
  x   Phone: 320-656-6000 or 7-1-1 (MN Relay Service) or your preferred relay service


Other Housing Resources
  x   Veterans Community Resource Referral Center
          o Online: Community Resource and Referral Centers - VA Homeless Programs
            (https://www.va.gov/homeless/crrc.asp)
          o Call 612-313-3240
  x   Minnesota Housing Benefits 101 an online resource to explore housing benefits in
      Minnesota.
          o Online: HB101 Minnesota (https://mn.hb101.org/)
  x   HousingLink, Minnesota’s primary source for affordable housing-related openings, data,
      information, and resources.
          o Online: HousingLink (https://www.housinglink.org/AboutUs/Story)
  x   United Way 211 provides resources online, on the phone, and through text.
          o Online: https://211unitedway.org/.
  x   Home Line, a nonprofit Minnesota tenant advocacy organization
        o Online: Free Legal Help for Renters — HOME Line (homelinemn.org)
For those needing substance use disorder (SUD)
treatment
General SUD Resources
   x   FastTrackerMN.org, an active behavioral health search tool providing access to available
       treatment options. Visit FastTrackerMN (https://fasttrackermn.org/).
   x   The Minnesota Alliance for Recovery Community Organizations (MARCO) has an online
       tool to connect to a recovery community and resources in your area.
           o Connect With An RCO – MARCO (marcomn.org)


Department of Human Services (DHS) Resources
   x   The DHS Licensing Information Lookup to find an alternative licensed provider in your area.
          o Online: DHS Licensing lookup (https://licensinglookup.dhs.state.mn.us/)
   x   The DHS SUD Get Help webpage for information on assessment and treatment services.
          o Online: Get help for alcohol and drug use problems (https://mn.gov/dhs/people-we-
             serve/seniors/health-care/alcohol-drugs-addictions/get-help/)


Managed Care Organization Enrollees
If enrolled in a Managed Care Organization reach out to your health care plan at Health plan member
services phone numbers (https://mn.gov/dhs/people-we-serve/adults/health-care/health-care-
programs/contact-us/health-plan-contacts.jsp) for alternative treatment providers.




                  For accessible formats of this information or assistance with
                  additional equal access to human services, email us at
                  dhs.info@state.mn.us, call 651-431-2460, or use your preferred
                  relay service. ADA1 (3-24)
